Case 1:15-cv-00332-RJL Document 2 Filed 03/09/15 Page 1 of 1
AO 440 (Rev 12/09) Summons ina Civil Action (Page 2)
Civil Action No. Jri5- ey) 0332 (SL

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, ifany) —__S, 0 Mop, Ap Ci Aer oF Co meAwy
was received by me on (date) 3 q | Joly .
F

 

[1 I personally served the summons on the individual at (place)

on (date) ; or

 

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

On (date) , and mailed a copy to the individual’s last known address; or

Xl I served the summons on (name of individual) Vic honiz Suit Orncc NwAcer , who is
{

designated by law to accept service of process on behalf of (name of organization) _| . f. Mos AvChase+ G men
on (date) _ 3] 9] 20156 1g + OF

C] I returned the summons unexecuted because lor

 

 

C} Other (specify):

My fees are $ — for travel and $ SD. " for services, for a total of $ 50.00

I declare under penalty of perjury that this information is true.

bat: 3/90 iH (J...

Prnaels J. iditecxms

Printed name and title

Server's signature

3.259 T St. SE, #3) WASHWWS6TW SC 20020

Server's address

Additional information regarding attempted service, etc:

RECEIVED

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rk, U.S. District an
Cheakruptcy Courts
